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 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-00467 JAM
11
                                          Plaintiff,       STIPULATION AND ORDER CONTINUING
12                                                         IMPOSITION OF JUDGMENT & SENTENCING
                               v.
13                                                         DATE: MAY 6, 2014
     ZHORA DARMOYAN, et. al.,                              TIME: 9:45 A.M.
14                                                         JUDGE: JOHN A. MENDEZ
                                          Defendant.
15

16
                                                       STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendants Zhora
18
     Darmoyan and Martin Atoyan, by and through their counsel of record, hereby stipulate that the status
19
     conference concerning judgment and sentencing in the matter presently set for May 6, 2014, at 9:45 a.m.
20
     may be vacated and the matter continued to February 17, 2015, at 9:30 a.m. for a status conference
21
     regarding the imposition of judgment and sentence.
22
            Mr. Darmoyan’s and Mr. Atoyan’s plea agreements with the government contain cooperation
23
     provisions and the government is not able to adequately assess the degree of their cooperation until the
24
     charges against others have been tried or otherwise disposed of. For that reason, the parties have
25
     stipulated that the current date for a status conference concerning imposition of judgment and sentencing
26
     may be vacated and the matter continued to February 17, 2015, at 9:30 a.m. for a status conference
27
     regarding a new date for imposition of judgment and sentencing and the setting of a new schedule of
28

     Stipulation to Continue Sentencing                     1
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 1 disclosures for the pre-sentencing report.

 2 IT IS SO STIPULATED.

 3 DATED: April 9, 2014                                 BENJAMIN B. WAGNER
                                                        United States Attorney
 4
                                                        /s/ Lee S. Bickley
 5                                                      LEE S. BICKLEY
                                                        Assistant United States Attorney
 6
                                                        For the UNITED STATES OF AMERICA
 7

 8 DATED: April 9, 2014                                 /s/ Lee S. Bickley for
                                                        DANIEL BEHESNILIAN
 9
                                                        For defendant ZHORA DARMOYAN
10

11

12 DATED: April 9, 2014                                 /s/ Lee S. Bickley for
                                                        J. TONEY
13
                                                        For defendant MARTIN ATOYAN
14

15                                                ORDER
16
            IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
17

18 parties that the status conference concerning imposition of judgment and sentencing in this matter

19 currently scheduled for 9:45 a.m. on May 6, 2014, is vacated and the matter is continued to February 17,

20 2015, at 9:30 a.m. for a status conference regarding the imposition of judgment and sentence.

21
     This 9th day of April, 2014.
22                                                      /s/ John A. Mendez_______________________
                                                        HONORABLE JOHN A. MENDEZ
23                                                      UNITED STATES DISTRICT COURT JUDGE
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     Stipulation to Continue Sentencing                2
